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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW JERSEY


 In re:                                            Chapter 11

 LTL MANAGEMENT LLC,                               Case No. 23-12825 (MBK)

                          Debtor.                  Hon. Michael B. Kaplan


          APPLICATION FOR AN ORDER FOR ADMISSION PRO HAC VICE

               Pursuant to Rule 101.1 of the Local Civil Rules for the United States District

Court for the District of New Jersey and Rule 9010-1 of the United States Bankruptcy Court,

District of New Jersey, the undersigned counsel hereby seeks entry of an ordering granting the

admission pro hac vice of Jonathan Mitnick of the law firm of Simpson Thacher & Bartlett LLP

to represent Travelers Casualty and Surety Company (f/k/a The Aetna Casualty and Surety

Company) in the above-captioned chapter 11 case. In support of the application, counsel submits

the attached Certification of Jonathan Mitnick, and requests that the proposed form of order
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submitted herewith be entered. Counsel certifies that he is admitted, practicing, and a member in

good standing of the Bar of the State of New Jersey.

                                     By: /s/John Maloney

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Dated: April 17, 2023
